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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS,
               Plaintiff,                                    Case 1:17-cv-01701-RC
           v.
 FEDERAL BUREAU
 OF INVESTIGATION, et al.,
               Defendants.


                                     NOTICE OF FILING

       Pursuant to Local Rule 5.4(e)(1), Plaintiff Reporters Committee for Freedom of the Press

hereby gives notice that it has filed with the Court, via overnight mail, a DVD of the

documentary film No Man’s Land (2017), which is Exhibit H to the declaration of Katie

Townsend filed in support of Plaintiff’s Opposition to Defendants’ Motion for Partial Summary

Judgment and Plaintiff’s Cross-Motion for Partial Summary Judgment. Exhibit H has also been

served on counsel for Defendants via overnight mail.

Dated: September 14, 2018

                                                             Respectfully submitted,

                                                             /s/ Katie Townsend_________
                                                             Katie Townsend
                                                             DC Bar No. 1026115
                                                             Jennifer A. Nelson
                                                             DC Bar No. 1011387
                                                             Adam A. Marshall
                                                             DC Bar No. 1029423
                                                             THE REPORTERS COMMITTEE FOR
                                                             FREEDOM OF THE PRESS
                                                             1156 15th St. NW, Suite 1250
                                                             Washington, DC 20005
                                                             Phone: 202.795.9300
                                                             Facsimile: 202.795.9310
                                                             Email: ktownsend@rcfp.org

                                                             Counsel for Plaintiff
